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The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                        Signed By:
                                                        Tracey N. Wise
                                                        Bankruptcy Judge
                                                        Dated: Tuesday, April 5, 2022
                                                        (tnw)
